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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:
                                                                    Chapter 11
    NANOMECH, INC.,
                                                                   Case No.__ _______( )
                     Debtor.1



                    DECLARATION OF BENJAMIN WAISBREN IN SUPPORT
                    OF CHAPTER 11 PETITION AND FIRST-DAY PLEADINGS

             I, Benjamin Waisbren, hereby declare the following under penalty of perjury:

             1.     I am over the age of 18 and am fully competent to make this declaration (the

“Declaration”). I am the Chief Restructuring Officer (“CRO”) of the above-captioned debtor,

NanoMech, Inc. (the “Debtor” or “NanoMech”).

             2.     This Declaration is made in support of the Debtor’s petition under chapter 11 of

title 11 of the United States Code (the “Bankruptcy Code”) and each of the motions and application

for relief (collectively, the “First-Day Pleadings”) filed on the date hereof (the “Petition Date”). I

am authorized to submit this declaration (the “Declaration”) on behalf of the Debtor.

             3.     I am a financial and special situations advisor with a multi-faceted business,

investment banking, asset management, special-situation investing, structured finance, and legal

background, including over 30 years of experience in restructuring and finance. I have a B.A.

from Boston University and a J.D. from the University of Wisconsin Law School. I began my

career in 1982 as a bankruptcy lawyer in Milwaukee and subsequently joined the Chicago office

of Lord, Bissel & Brook (now Locke Lord) as a partner in 1990, where I developed a national

corporate reorganization and bankruptcy litigation practice.


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      The last four digits of the Debtor’s federal tax identification number are 3143. The Debtor’s service address for
      the purpose of this chapter 11 case is: 2447 Technology Way, Springdale, AR 72764.
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       4.      After approximately 13 years of practice, I joined Salomon Brothers, Inc. (now

Citigroup) to lead its global restructuring advisory group in New York (in the Mergers and

Acquisitions Department) as a Managing Director. I later joined a global hedge fund, Stark

Investments, as a Managing Director, where I was responsible for the firm’s entry into new

alternative asset class investment and trading strategies (including par loans, leveraged loans, and

media private equity), as well as managing direct lending and private equity transactions in the

U.S. and Europe, and litigation and workouts in major chapter 11 cases. In early 2007, in

partnership with Citigroup, I founded and became the president of Continental Entertainment

Capital LP, a proprietary media and entertainment loan and equity investment origination and

underwriting platform based in New York, Los Angeles, and Paris, until the end of 2018 (when

Citigroup ceased proprietary trading strategies as a result of the financial crisis).

       5.      After spending several years working as an independent financial advisor in the

media sector and producer, I returned to the practice of law with Winston & Strawn LLP in early

2013. At Winston, I concentrated on “rated” structured finance transactions, as well as bankruptcy

and restructuring matters. Also, during my time at Winston, I was asked to serve as president of

LSC Film Corporation in early 2014, an entity that co-financed 30 major motion pictures in

partnership with Sony Pictures (Columbia, TriStar, and Sony Pictures Animation), for which I was

the financial architect and originator At that time, I also entered into an executive producing

agreement with Sony Pictures Entertainment. Through my work in the financial services industry

and media finance, I have developed quantitative and modeling knowledge and skills. While

President of LSC Film Corp., I retired as a partner from Winston & Strawn in the Summer of

2017. Before and after my retirement, I was engaged by the United States Department of Justice

as its financial advisor and industry consultant in a civil forfeiture case, entitled United States v.




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“The Wolf of Wall Street” Motion Picture, Case No. 2:16-cv-05362 (C.D. Cal.). While at Winston,

initially, my role (under Winston’s engagement) was as “Information Agent”, a non-attorney client

relationship role akin to a chapter 11 examiner; and later, that position changed. I was engaged,

through my business entity, Virtually There, LLC, as a financial and industry advisor by the

United States Department of Justice under a government contract.

           6.   I began serving as the CRO of the Debtor on March 7, 2019 pursuant to a resolution

adopted by the Board of Directors, whereby I report to the Board. As part of my duties as CRO, I

have been overseeing and advising the Debtor on its day-to-day operations, budgets, cash flows,

asset dispositions, anticipated bankruptcy compliance, negotiations with key suppliers,

communications with key suppliers, negotiations with the Debtor’s senior lenders,

communications and consultations with employees, and overall restructuring and reorganization

efforts.

           7.   At the time of my retention, the Debtor’s operations were at a near-standstill.

Vendors in the Debtor’s supply chain were not shipping, the Debtor had almost no liquidity, and

key customers were not submitting purchase orders. The Debtor was within days of a complete

shutdown of operations and a consequent forced liquidation. As set forth below, that condition

has changed. With a reduction in employee overhead, a key vendor agreement, the delivery of

product to customers, the renewal of customer purchase orders (from a frozen state), and the pre-

petition advance of additional secured credit by the Debtor’s senior lender (see, Paragraph 33,

below), the Debtor is now in a position to continue as a going concern through these proceedings

and thereafter. To illustrate the improvement in operations, existing purchase orders from

customers now total over six times the purchase orders total for the Debtor in January, 2019.




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        8.      I have reviewed the First-Day Pleadings. To the best of my knowledge, I believe

that approval of the relief requested in the First-Day Pleadings is necessary to minimize disruption

to NanoMech’s business operations, permit an effective transition into chapter 11 proceedings,

and preserve and maintain the value of NanoMech’s estate. I also believe that, absent immediate

access to cash collateral and post-petition financing and authority to make certain essential

payments and otherwise continue conducting ordinary course business operations as set forth

herein and as described in the First-Day Pleadings, the Debtor would suffer immediate and

irreparable harm to the detriment of its estate.

        9.      All the facts and opinions set forth in this Declaration are based on my experience,

knowledge and information concerning the Debtor’s operations and business financials; my review

of relevant documents; information provided to me or verified by other officers or employees of

the Debtor; and conversations with other members of the Debtor’s management. Unless otherwise

indicated, the financial information contained in this Declaration is unaudited and subject to

change. If called to testify, I would testify to the facts and opinions set forth herein based on my

personal knowledge, my review of relevant documents, and my investigation.

        10.     Part I of this Declaration provides an overview of the Debtor’s business operations,

capital structure, and financial standing. Part II of this Declaration describes the circumstances of

the commencement of the above-captioned case. Part III of this Declaration sets forth the facts

relevant to the various First-Day Pleadings and the Debtor’s business judgment in seeking such

relief, and my bases for concluding that the relief requested in the First-Day Pleadings is in the

best interests of the Debtor, its estate, its creditors, and all other parties in interest.




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I.     OVERVIEW

       A.      Business Overview

       11.     NanoMech is a nanotechnology company and a leader in applying proprietary

technologies in surface engineering and material-science manufacturing of lubricants, specialty

chemicals, pastes, paints, coatings, and advanced textiles. NanoMech generates revenue by selling

products containing its innovative, patent-protected nanotechnologies.

       12.     NanoMech was founded in approximately 2002 by Dr. Ajay P. Malshe, a

Distinguished Professor in the College of Engineering at the University of Arkansas. For many

years, Dr. Malshe served as NanoMech’s Chief Technology Officer.

       13.     Early in the company’s history, Dr. Arpana Verma, who was then completing her

doctoral research under Dr. Malshe, worked in collaboration with Dr. Malshe to invent the

technology used in NanoMech’s nGlide products, which products make up the majority of the

Debtor’s current sales volume. NanoMech’s nGlide product line is a series of advanced lubricants

that reduce friction by orders of magnitude as compared to traditional lubricants.

       14.     nGlide products are principally used by customers in the oil and gas services

industry. In fact, approximately two-thirds of NanoMech’s overall sales revenues come from

customers in the energy industry..

       15.     In addition to the revenue it generates, NanoMech’s nGlide business is significant

because of two large barriers to entry into this market for potential competitors. First, NanoMech

has rights to the intellectual property, including several patents and patent applications for

inventions that form the basis of nGlide’s formulation. Second, NanoMech supplies branded

products to its major customers, which products have been specified and validated by these

customers’ engineers after rigorous and time-consuming analysis and testing.         A proposed




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competitive product would have to go through a new validation process with each potential

customer, which process can take months or years for approval.

       16.     In addition to nGlide, NanoMech has several other product lines that also rely on

its patented and patent-pending technology. For example, NanoMech’s TuffTek products consist

of coatings used by automobile and aircraft manufacturers on bits that cut aluminum and steel, as

well as wood building products Other divisions of NanoMech, such as Guardx and nGuard, also

involve sales of products that rely on NanoMech’s patented technology. All of these product lines

rely on technology that is exclusively owned by or licensed to NanoMech.

       17.     NanoMech’s innovative products—and, primarily, the success of its nGlide product

line—are the principal reason for Debtor’s ability to operate today, despite a historical pattern of

undercapitalization, operating losses and spending of invested capital on non-revenue producing

initiatives and overhead. After raising substantial equity, debt, and public financing from the State

of Arkansas, NanoMech grew from a single laboratory developing products to an ISO-certified

manufacturer of multiple product lines. At one time, NanoMech had as many as 51 full-time

employees working in Houston, Texas; Dallas, Texas; Springdale, Arkansas; and Detroit,

Michigan. Its employee ranks now total about half that number, and yet, based on recent

developments, such reduction in headcount and overhead will not adversely affect top line sales.

In fact, as indicated above, purchase orders are on the increase, now that key vendor and customer

confidence is being restored, and as a result, current asset levels are increasing. To be sure,

significant sales growth will require additional working capital and staffing, but such an

investment in capital would be rational based on substantial industrial capacity that exists, meaning

more sales can be achieved without additional investment in capital equipment.




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       18.     Upon Dr. Malshe’s departure from the company in December 2017, Dr. Verma

served as NanoMech’s Chief Technology Officer, working in the Houston Office, until April 12,

2019. In light of NanoMech’s lack of capital to fund research and development, as well as the fact

that NanoMech’s laboratories and other scientists are located at the Debtor’s Springdale, Arkansas

facility, Dr. Verma and Debtor mutually agreed that her distinguished career would be better

served if she were to leave the Company and resign from its Board of Directors.

       19.     The Debtor currently employs two PhD scientists who are an integral part of its

operations. In addition to the Debtor’s patented technologies, the knowhow of these employees in

the application and use of those technologies is equally important, and represents another bar to

market entry by competitors.

       B.      Corporate History and Organizational Structure

       20.     In March 2003, NanoMech’s predecessor entity, NanoMech, LLC, was formed as

an Arkansas limited liability company.

       21.     In approximately December 2007, a second entity, Duralor, LLC, was also formed

as an Arkansas limited liability company for the purpose of what ultimately became NanoMech’s

TuffTek business line. NanoMech, LLC held a majority of the equity interests in Duralor, LLC.

       22.     On May 28, 2010, Duralor, LLC was merged with and into NanoMech, LLC. On

the same date, the surviving entity, NanoMech, LLC, was converted into a Delaware corporation,

NanoMech, Inc.

       23.     NanoMech has four wholly owned subsidiaries: NanoMech Energy, Inc.;

Convergent Materials, Inc.; NanoMech Holdings, LLC; and Nano Corporation of America, LLC.

These four entities have no assets or liabilities and are used for the sole purpose of paying franchise

taxes. I do not anticipate that these entities will need to seek relief under the Bankruptcy Code.




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        C.     Summary of Prepetition Capital Structure

               i.     Secured Debt

                      a.      Arvest

        24.    On December 19, 2013, NanoMech and Arvest Bank (“Arvest”) entered into that

certain Promissory Note and Security Agreement (the “Arvest Agreement”). Under the Arvest

Agreement, Arvest extended a loan to NanoMech in the principal amount of $1,781,906.00 (the

“Arvest Loan”) for the purpose of working capital and construction costs in connection with real

property owned by NanoMech located at 2447 Technology Way in Springdale, Arkansas (the

“Manufacturing Facility”). The Arvest Loan has an interest rate of 5% per annum and had an

original maturity date of December 18, 2018, which has subsequently been extended to April 18,

2019.

        25.    NanoMech’s obligations under the Arvest Agreement are secured by (i) a mortgage

executed by NanoMech in favor of Arvest on the Manufacturing Facility (the “Arvest Real

Property Collateral”) dated December 19, 2013 (the “Arvest Lien”), and (ii) a security interest in

all of NanoMech’s “goods, accounts, general intangibles and other items of tangible and intangible

personal property now owned or hereafter acquired by [NanoMech] and located on or intended for

use in or arising from the construction or ownership of real property and improvements thereon”

located at the Manufacturing Facility, as more fully described in the Arvest Agreement (the

“Arvest Personal Property Collateral,” and collectively with the Arvest Real Property Collateral,

the “Arvest Collateral”). Arvest Agreement ¶ 12(C).

                      b.      Arkansas Economic Development Commission

        26.    NanoMech and the Arkansas Economic Development Commission (“AEDC”) are

parties to that certain Loan Reimbursement Agreement dated December 19, 2013 (the “AEDC

Loan Agreement”), under which the AEDC loaned funds to NanoMech to purchase and make


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improvements to the Manufacturing Facility. NanoMech’s obligations under the AEDC Loan

Agreement were originally evidenced by a promissory note (the “AEDC Note”) in the principal

amount of $1,500,000. The AEDC Note has an interest rate of 5% per annum and had an original

maturity date of December 19, 2016. On December 16, 2016, NanoMech and the AEDC entered

into that certain Extension and Modification Agreement (the “AEDC Modification Agreement”),

under which, among other things, NanoMech and the AEDC agreed that the maturity date of the

AEDC Note would be extended to December 19, 2019 and that NanoMech would begin making

interest-only payments on January 19, 2017.

       27.     The AEDC Loan Agreement provides that NanoMech’s obligations under the

AEDC Loan Agreement and evidenced by the AEDC Note would be secured by two liens

(collectively, the “AEDC Liens”), namely: (i) a junior lien on the Manufacturing Facility,

subordinate to the Arvest Lien; and (ii) a first lien on 7 acres of undeveloped real estate owned by

NanoMech that lies adjacent to the Manufacturing Facility (the “7 Acre Property,” and collectively

with the Manufacturing Facility, the “AEDC Real Property Collateral”).             In addition, as

contemplated by the AEDC Loan Agreement, on December 19, 2013, NanoMech and AEDC

entered into that certain Security Agreement (the “AEDC Security Agreement”), under which

NanoMech granted the AEDC a security interest in “all Equipment of [NanoMech] as such term

is defined in Ark. Code Ann. § 4-9-102 owned by [NanoMech], which Collateral is located in, at

or upon [NanoMech’s] Arkansas facilities” (the “AEDC Personal Property Collateral,” and

collectively with the AEDC Real Property Collateral, the “AEDC Collateral”). AEDC Security

Agreement ¶ 2. By agreement, AEDC’s interest in the AEDC Personal Property Collateral was

subordinated to Arvest’s interest in the Arvest Personal Property Collateral.




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       28.     As noted in Part I.C.i.c, infra, on April 10, 2018, NanoMech and Michaelson

Capital Special Finance Fund II, L.P. (“Michaelson”) entered into the Original NPA (defined

herein), which permitted NanoMech to use some of its proceeds to pay off existing obligations to

the AEDC. NanoMech’s payment to the AEDC included a payment of $1,000,000 on the principal

of the AEDC Note, plus another $29,315.08 in interest. Thus, NanoMech believes that the unpaid

principal amount under the AEDC Loan Agreement and AEDC Note is now $500,000, and the

total unpaid amount including interest and fees is $508,332.32. In addition, as required under the

Original NPA, AEDC agreed to subordinate its interest in the AEDC Personal Property Collateral

to Michaelson’s interest in the Michaelson Collateral (defined herein).

                      c.      Michaelson and Advantage

       29.     On April 10, 2018, NanoMech and Michaelson entered into that certain Note

Purchase and Security Agreement (the “Original NPA”). Under the Original NPA, Michaelson

loaned funds to NanoMech evidenced by a promissory note in favor of Michaelson in the principal

amount of $5,000,000 (the “Original Note”). The Original Note has an interest rate of 8.5% per

annum and a maturity date of April 10, 2022. The Original NPA provided for NanoMech to use

the proceeds of the Original Note (i) to repay certain loan obligations to the Arkansas Economic

Development Commission (“AEDC”), the Springdale Public Facilities Board (“SPFB”), and Koch

Minerals, LLC (“Koch”), and (ii) for working capital and other general corporate purposes.

Original NPA ¶ 1.3.

       30.     NanoMech’s obligations under the Original NPA and the amendments thereto are

secured by a security interest in and “Lien” (as defined therein) upon “all of [NanoMech’s]

personal property, tangible or intangible, and whether now owned or hereafter acquired, or in




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which it now has or at any time in the future may acquire any right, title, or interest,” as more fully

described in the Original NPA (collectively, the “Michaelson Collateral”).

        31.      On April 19, 2018, NanoMech and Michaelson entered into that certain First

Amendment to Note Purchase and Security Agreement (the “First NPA Amendment”), under

which Michaelson loaned additional funds to NanoMech evidenced by a promissory note in favor

of Michaelson in the principal amount of $2,000,000 (the “Bridge Note”). The Bridge Note has

an interest rate of 10% per annum and a maturity date of April 19, 2019.

        32.      On March 1, 2019, NanoMech, Michaelson, Southeast Community Development

Fund VII, L.L.C. (“SCDF”), Advantage Capital Community Development Fund, L.L.C.

(“ACCDF”), and CDVCA SUB-CDE IV, LLC (“CDVCA,” and collectively with SCDF and

ACCDF, “Advantage”) entered into that certain Second Amendment to Note Purchase and

Security Agreement (the “Second NPA Amendment”). Under the Second NPA Amendment,

Advantage loaned additional funds to NanoMech in pari passu with NanoMech’s obligations to

Michaelson,2 evidenced by three promissory notes in the total principal amount of $1,000,000 (the

“Advantage Notes”).3 In addition, certain obligations owing to Advantage are subordinated to

certain obligations owing to Michaelson, as set forth in Section 7 of the Third NPA Amendment

(defined herein). Each of the Advantage Notes has an interest rate of 8.5% per annum and a

maturity date of April 10, 2022.

        33.      On March 22, 2019, NanoMech, Michaelson, and Advantage entered into that

certain Third Amendment to Note Purchase and Security Amendment (the “Third NPA



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    Advantage has agreed that accrued and unpaid interest in respect of the Original Note and the Bridge Note accrued
    through and including the Second Amendment Effective Date (as defined in the Second NPA Amendment) will
    be paid prior to any other obligations under the NPA (as defined herein).
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    More specifically, the Advantage Notes consist of: (i) a promissory note in favor of SCDF in the principal amount
    of $680,000; (ii) a promissory note in favor of ACCDF in the principal amount of $144,000; and (iii) a promissory
    note in favor of CDVCA in the principal amount of $176,000.


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Amendment”), under which Michaelson loaned an additional $250,000.00 to NanoMech, subject

to the same interest rate per annum as the Original Note and payable on demand or, if earlier, upon

any “Event of Default” (as defined by the NPA) or on the maturity date of the Original Note. On

or about April 4, 2019, Michaelson loaned an additional $200,000 to NanoMech under the Third

NPA Amendment.

       34.     In order to restore the Debtor’s nGlide supply chain and ability to serve its key

customers of that product, on April 5, 2019, NanoMech, Michaelson, and Axel Royal LLC (“Axel

Royal”) entered into that certain Amendment to Security Agreement and Open End Credit

Agreement and Fourth Amendment to and Limited Consent under Note Purchase Agreement (the

“Fourth NPA Amendment,” and collectively with the Original NPA, the First NPA Amendment,

the Second NPA Amendment, and the Third NPA Amendment, the “NPA”). Additional details

regarding the Fourth NPA Amendment are set forth in Part I.C.i.d, infra.

                       d.      Axel Royal, LLC

       35.     Axel Royal, a company based in Tulsa, Oklahoma, is a critical manufacturer and

supplier of product that is used in the production of nGlide-branded products, as further detailed

in Parts II.D and III.D, infra. Axel Royal is not only a supplier of unique, difficult-to-source grease

components, it is involved in the manufacture of the finished product, as well. On January 28,

2019, NanoMech and Axel Americas, LLC (“Axel Americas,” and collectively with Axel Royal,

“Axel”) entered into that certain Security Agreement (the “Original Axel Security Agreement”),

under which NanoMech purported to grant Axel Americas “a first priority purchase money

security interest in all future accounts receivable related to” goods supplied by Axel and sold to

NanoMech’s customers. Original Axel Security Agreement at 1 & ¶ 1. On the same date,

NanoMech and Axel Americas also entered into that certain Open End Credit Agreement (the




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“Original Axel Credit Agreement”), under which Axel Americas agreed to extend credit to

NanoMech in the maximum amount of $600,000.00 for NanoMech’s current and future purchases

of goods from Axel. Original Axel Credit Agreement ¶ 2. NanoMech and Axel Americas agreed

that the outstanding principal balance under the Original Axel Credit Agreement was $544,392.68

as of January 28, 2019. When I learned of NanoMech’s direction of payment that had been

delivered to three key customers, and concluded that it had violated Michaelson’s existing security

agreement, I directed that such direction of payment be terminated with written notice to the

account receivable debtors. I then commenced discussions with Axel Royal on how best to restore

NanoMech’s relationship with Axel Royal and NanoMech’s critical supply chain for nGlide.

Among other things, I arranged for an advance from Michaelson (see, Paragragh 33, above) that

enabled NanoMech to pay its entire outstanding obligation to Axel Royal, with the anticipation

that the Debtor would seek to have Axel Royal designated a “key vendor” and (without such

payment) would, if the motion were granted, have sought authority to pay Axel Royal post-

petition. This also set the stage for negotiations between Axel Royal and Michaelson, as well as

discussions concerning Axel Royal’s providing the Debtor with very favorable pre- and post-

petition trade credit terms (which terms are now embodied in the Fourth NPA Amendment and

Axel Security Agreement, as described below). Simply put, this tri-party arrangement saved

NanoMech from shutting down operations and liquidating and has resulted in an increase of total

orders from customers at over six times the purchase order level in January.

       36.     Of course, Michaelson asserted that NanoMech’s entry into the Original Axel

Security Agreement and Original Axel Credit Agreement violated NanoMech’s obligations under

the NPA. Thus, as noted above, on April 5, 2019, NanoMech, Axel Royal, and Michaelson entered

into the Fourth NPA Amendment.




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       37.     Under the Fourth NPA Amendment, the parties amended the Original Axel Security

Agreement (as amended, the “Axel Security Agreement”) to provide for NanoMech to grant Axel

security interests in certain “Axel Goods” (as defined therein) supplied by Axel to NanoMech and

delivered to either NanoMech or NanoMech’s customers, and the proceeds thereof (collectively,

the “Axel Collateral”). As amended, the Axel Security Agreement further provides that the

security interests granted to Axel secure only “the unpaid amount of the charges owing by

NanoMech to Axel for the sale and processing of such Axel Goods by Axel” and “shall be treated

as purchase money security interest(s), as described in Section 9-103 of the Missouri Uniform

Commercial Code.” Axel Security Agreement ¶¶ 1, 3. In addition, as amended, the Axel Security

Agreement sets forth procedures under which, among other things, (a) NanoMech and Axel may

authorize NanoMech’s customers to pay amounts owed to NanoMech directly into a “Designated

Account” (as defined therein) selected by the parties, (b) Axel may withdraw from the Designated

Account only those amounts owed by NanoMech to Axel in connection with the underlying goods,

and (c) any remaining funds shall be remitted to NanoMech within three business days of the

payment being made, all as more fully detailed in the Axel Security Agreement. Id. ¶ 8.

       38.     Additionally, as part of the Fourth NPA Amendment, the parties amended the

Original Axel Credit Agreement (as amended, the “Axel Credit Agreement,” and collectively with

the Axel Security Agreement, the “Prepetition Axel Agreements”) to provide for Axel to make

additional credit advances to NanoMech for the purchase of goods by NanoMech.

       39.     In addition, under the Fourth NPA Amendment, among other things, Michaelson

(a) consented to NanoMech’s entry into the Axel Security Agreement; (b) agreed that Axel will

have a first priority perfected security interest in the Axel Collateral to secure an aggregate amount

of Secured Obligations (as defined in the Axel Credit Agreement) in an aggregate amount not to




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exceed $750,000, subject to the terms set forth in the Fourth NPA Amendment; and (c) released

Axel and its affiliates from certain claims, all as further detailed in the Fourth NPA Amendment.

               ii.    Unsecured Debt

                      a.      Trade Debt

        40.    NanoMech’s unsecured debt includes various debts to its suppliers and vendors

incurred in the ordinary course of business. As of the date hereof, NanoMech’s total unsecured

trade debt is approximately $1,581,700.00.

                      b.      Arkansas Economic Development Commission

        41.    On December 19, 2013, NanoMech and the AEDC entered into that certain Grant

Reimbursement Agreement (the “Grant Reimbursement Agreement”), under which the AEDC

issued a grant of $1,000,000 to NanoMech (the “Grant”) for the purpose of purchasing and making

improvements to the Manufacturing Facility, the funding of development and project costs related

thereto, and the financing of inventory and accounts receivable. The Grant Reimbursement

Agreement obligated NanoMech to reimburse the Grant to the AEDC, but permitted NanoMech

to do so by meeting certain employment requirements by December 19, 2016. The AEDC

Modification Agreement, described above, subsequently extended this deadline to December 19,

2017.

        42.    On September 28, 2018, NanoMech and the AEDC entered into that certain Second

Extension and Modification Agreement (the “Second AEDC Modification Agreement”), under

which, among other things, the parties agreed that the unreimbursed amount of the Unsecured

Grant was $500,000 as of the date thereof, and the maturity date under the Unsecured Grant

Reimbursement Agreement was extended to December 19, 2019.




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                          c.       Convertible Notes

        43.      In early 2017, NanoMech began to market certain convertible promissory notes

(collectively, the “Convertible Notes”), as further detailed in Parts II.A and B, infra. NanoMech

ultimately issued Convertible Notes on the dates and amounts listed in Exhibit 1 to this

Declaration.4 Each of the Convertible Notes has an interest rate of 8% per annum and a maturity

date of one year after its issuance.

        44.      Each of the Convertible Notes states that, if NanoMech establishes and issues

“Series D Preferred Stock” (as defined therein) to investors, resulting in a “Qualifying Financing”

(as defined therein) before the maturity date of such Convertible Note, the holder of such

Convertible Note may elect to convert all or a portion of NanoMech’s obligations thereunder into

shares of Series D Preferred Stock, all as further detailed in the Convertible Notes. As of the date

hereof, NanoMech has not yet authorized any Series D Preferred Stock.

        45.      To date, NanoMech has issued Convertible Notes in the aggregate principal amount

of $4,150,000.00.

                 iii.     Common and Preferred Shares

        46.      As of the date hereof, NanoMech has issued approximately 6,112,210 shares of

common stock. I understand that the individuals and entities listed in Exhibit 2 hereto own 10%

or more of NanoMech’s shares of common stock.

        47.      Additionally, NanoMech has engaged in multiple efforts to raise capital over the

years to attracting investors, resulting in three series of preferred shares: Series A, Series B, and



4
    As further detailed in Exhibit 1 and in Parts II.A and B, infra, NanoMech issued Convertible Notes both before
    and after it entered into the Original NPA. Certain holders of Convertible Notes issued before the date of the
    Original NPA executed that certain Consent dated April 2018 (the “NPA Consent”), in which they consented to
    issuance of the Original Note, as further detailed in Exhibit 1. In addition, certain holders of Convertible Notes
    have agreed to subordinate the obligations arising under such Convertible Notes to the obligations arising under
    the NPA, as further detailed in Exhibit 1.


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Series C. More specifically, NanoMech raised approximately $1.6 million in connection with its

Series A investors between 2005 and 2009; approximately $11.3 million in connection with its

Series B investors in 2014; and approximately $10.7 million in connection with its Series C

investors in 2016. In connection with these investments, NanoMech has issued 1,411,289 Series

A preferred shares; 3,663,480 Series B preferred shares, and 3,244,940 Series C preferred shares.

I understand that the individuals and entities listed in Exhibit 3 hereto own 10% or more of any

single class of NanoMech’s preferred stock.

II.    EVENTS LEADING TO BANKRUPTCY

       A.      NanoMech’s Historic Undercapitalization and Marketing Efforts

       48.     NanoMech’s foundation is its innovative nanotechnology, as explained above.

Over the years, however, NanoMech has been undercapitalized, particularly in light of investments

of capital in overhead and R&D that did not produce a return, and this negatively impacted

liquidity and business operations.

       49.     As noted above, throughout NanoMech’s history, it has attracted many outside

investors and raised millions of dollars of capital. However, continuing losses from operations,

company investments in research and development, and other costs,, together with a slow growth

in revenues, all contributed to an erosion of NanoMech’s capital base. As a consequence, much

of NanoMech’s efforts and overhead expenses were devoted to raising additional risk capital.

       50.     In late 2016 and early 2017, NanoMech pursued a fourth round of preferred-equity

capital raising. In January 2017, NanoMech retained Stifel, Nicolaus & Co., Inc. (“Stifel”), a

financial services firm, to represent it under a nonexclusive engagement in connection with the

marketing and promotion of NanoMech’s potential Series D Preferred Shares.

       51.     Stifel attempted to market NanoMech’s securities to at least 200 potential investors.

Despite these efforts, Stifel succeeded in attracting less than $5 million in investments, which were


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in Convertible Notes rather than an offering of Series D Preferred Shares. As noted above, the

Convertible Notes had an interest rate of 8% and a maturity date of one year from the date of

issuance, and were convertible into Series D Preferred Shares at the option of the holder. Thus, I

understand that the Convertible Notes were debt securities.

        52.     To authorize Series D Preferred Shares, NanoMech was required to obtain consent

from its Series B and Series C preferred shareholders. From early 2017 to the present, NanoMech

was unable to obtain the requisite consent from its Series B and Series C preferred shareholders

for the authorization of Series D Preferred Shares.

        53.     In March 2017, NanoMech began to issue the Convertible Notes, as described

above. In July 2017, Koch invested approximately $2 million in NanoMech and received a

Convertible Note. As a condition to Koch’s purchase of a Convertible Note, NanoMech was

ultimately required to provide security for its obligations to Koch under the Convertible Note.

Thus, following the issuance of Koch’s Convertible Note, Koch asserted security interests in

various assets of NanoMech, including real property and intellectual property.5

        54.     NanoMech’s former Chairman and Chief Executive Officer, James Phillips,

terminated the Stifel engagement in October 2017 due to the failure to raise sufficient capital.

NanoMech subsequently entered into other non-exclusive engagements with individuals and firms

to promote its potential Series D preferred shares to potential investors.

        55.     Specifically, in October 2017, NanoMech entered into an engagement with

Rainmaker Securities, LLC (“Rainmaker”). The terms of NanoMech’s engagement of Rainmaker

provided, among other things, that NanoMech would issue warrants to Rainmaker each month in

lieu of a cash retainer, and that Rainmaker was eligible to receive success fees (paid in cash) based


5
    As noted above, under the Original NPA, NanoMech used proceeds from the Original Note to pay off its
    obligations to Koch under the Convertible Note described in this paragraph.


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on the debt and equity investments it brought in. Ultimately, NanoMech issued common stock

warrants to Rainmaker for a total of 90,540 shares and paid Rainmaker a total of $168,000.00 in

success fees.

       56.      In August 2018, NanoMech also entered into an engagement with Knollwood

Capital, LLC (“Knollwood”), under which NanoMech paid a monthly retainer of $2,000 for

consulting and advisory services in connection with its potential series D preferred shares. While

the terms of Knollwood’s engagement also included potential success fees, NanoMech never paid

any such success fees to Knollwood. In 2018, Austerlitz Capital, LLC also provided services to

NanoMech on a non-exclusive basis in exchange for a potential success fee, but NanoMech never

made any payments in connection with this engagement.

       57.      In early 2018, NanoMech also explored the potential sale of its TuffTek division to

one of its customers, but these discussions stalled early on.

       B.       NanoMech’s Defaults Under the NPA

       58.      In April 2018, the Original Note and Bridge Note provided NanoMech with

additional liquidity. However, the NPA placed certain obligations on NanoMech with respect to

seeking outside investors. First, NanoMech was required to “complete an equity offering of shares

of Preferred Stock generating net proceeds to [NanoMech] in the principal amount of no less than

$4.0 million on or before September 30, 2018.” Original NPA ¶ 4.7. Second, NanoMech was

required to “convert all of the outstanding [Convertible Notes] into shares of Series C Preferred

Stock or another series of Preferred Stock in accordance with the terms of such [Convertible

Notes]” on or before the same date. Id. ¶ 4.9. Third, NanoMech promised that it would refrain

from creating, incurring, assuming, or permitting to exist any “additional Indebtedness (including

Purchase Money Indebtedness) incurred after the Closing Date” in an aggregate amount of




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$200,000 or more without Michaelson’s written consent. Id. ¶ 5.2(b). Additionally, the First NPA

Amendment provides:

              [I]n the event that [NanoMech] closes one or more debt or equity
              financing rounds (“Financing Transactions”) while the Bridge Note
              remains outstanding, (x) twenty five percent (25%) of the first
              $4,000,000 in gross proceeds payable to [NanoMech] in connection
              with such Financing Transactions shall be used to repay the
              Obligations under the Bridge Note, and (y) fifty percent (50%) of
              the next $2,000,000 in gross proceeds payable to [NanoMech] in
              connection with such Financing Transactions shall be used to repay
              the Obligations under the Bridge Note. Any such repayment of the
              Bridge Note shall occur simultaneously with the closing of such
              Financing Transactions.

First NPA Amendment ¶ 1.14(b).

       59.    However, after the closing of the Original NPA, NanoMech continued to issue

Convertible Notes to investors without notifying Michaelson or obtaining Michaelson’s written

consent. First, on June 28, 2018, NanoMech issued a Convertible Note in the principal amount of

$1,000,000 (the “Carroll Note”) to Daniel Carroll, who was then an employee of NanoMech.

Second, on August 30 and September 24, 2018, NanoMech issued two Convertible Notes, each in

the principal amount of $1,000,000 (collectively, the “Partridge Notes”), to the Waring and

Carmen Partridge Foundation.

       60.    Initially, Michaelson was not aware of the existence of the Carroll Note or the

Partridge Notes. NanoMech also did not pay any proceeds of the Carroll Note or the Partridge

Notes to Michaelson.

       61.    In or around August 2018, Michaelson learned about NanoMech’s issuance of the

Carroll Note and the Partridge Notes. In September 2018, Michaelson raised the possibility that

an “Event of Default” (as defined in the NPA) had occurred. On September 6, 2018, Michaelson

sent an email to NanoMech mentioning the possibility of an Event of Default.




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       62.     On October 16, 2018, Michaelson’s outside counsel sent a letter to NanoMech’s

outside counsel identifying various events that could constitute an Event of Default under the NPA,

but stating that Michaelson would consider forbearing from declaring an Event of Default and

exercising its remedies under the NPA if NanoMech met certain conditions, including payment of

$750,000 to Michaelson and execution of a subordination agreement with Waring and Carmen

Partridge by October 23, 2018. Despite NanoMech’s attempts, it was unable to meet these

conditions.

       63.     On November 9, 2018, Michaelson exercised its right under the NPA and a related

agreement with Arvest to sweep NanoMech’s operating bank account (the “Arvest Account”).

Shortly thereafter, the parties began to negotiate a formal forbearance agreement.

       64.     On November 18, 2018, NanoMech and Michaelson entered into that certain

Forbearance Agreement (the “Forbearance Agreement”). Under the Forbearance Agreement,

NanoMech and Michaelson agreed, among other things, that: (i) as of the date thereof, NanoMech

was indebted to Michaelson in the aggregate principal amount of $7,430,769 under the Original

Note and the Bridge Note; (ii) certain “Events of Default” had occurred under the NPA;

(iii) Michaelson would temporarily forbear from exercising additional rights and remedies under

the NPA; and (iv) Michaelson would return to NanoMech a portion of the funds it previously swept

from the Arvest Account. Furthermore, NanoMech made a series of additional covenants to

Michaelson, including that NanoMech would (i) pay Michaelson an additional $100,000 by

December 1, 2018 and (ii) convert all of its issued and outstanding Convertible Notes into shares

of Series D preferred stock by December 31, 2018. Forbearance Agreement ¶ 4. In addition,

NanoMech reaffirmed its covenants under the Original NPA, which include a covenant not to incur

additional debts exceeding $200,000 without Michaelson’s consent. Id. ¶ 8; Original NPA ¶ 5(b).




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       65.     NanoMech was unable to meet any of these obligations. In addition, NanoMech

issued new Convertible Notes after the execution of the Forbearance Agreement. On November

9, 2018, NanoMech issued a Convertible Note in the principal amount of $500,000 to the John D.

Bertuzzi Revocable Trust, and on January 23, 2019, NanoMech issued a Convertible Note in the

principal amount of $50,000 to John Acker. Thus, NanoMech was ultimately unable to comply

with the Forbearance Agreement.

       C.      Prepetition Litigation

       66.     On February 4, 2019, Michaelson initiated litigation against NanoMech in the

Supreme Court of the State of New York, County of New York, Case No. 650704/2019 (the

“Michaelson Litigation”), by filing a Notice of Motion for Summary Judgment in Lieu of

Complaint (the “Michaelson MSJ”). In the Michaelson MSJ, Michaelson alleged that NanoMech

was indebted to Michaelson for a total outstanding amount for a total outstanding amount of

$8,909,830 as of January 1, 2019, plus interest, fees, costs, and expenses.

       67.     On April 3, 2019, NanoMech and Michaelson executed that certain Stipulation,

Order and Judgment (the “Michaelson Stipulation”), which resolved the Michaelson Litigation. In

the Michaelson Stipulation, NanoMech agreed that the Michaelson MSJ should be granted that the

court should enter judgment in the total amount of $8,909,830, plus post-judgment interest at the

rate of 9% per annum, against NanoMech, with the parties to bear their own attorneys’ fees,

expenses, and costs.

       68.     In addition, on March 25, 2019, Daniel Carroll filed a Complaint against NanoMech

in the U.S. District Court for the Western District of Arkansas, Case No. 5:19-cv-05055-PKH (the

“Carroll Litigation”), alleging that NanoMech has defaulted on the Carroll Note. Carroll’s

Complaint demands payment of damages in the amount of $1,058,958.90, plus costs and expenses

in bringing the action, pre-judgment and post-judgment interest, and attorneys’ fees. To the best


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of my knowledge, as of the date hereof, NanoMech has not yet received service of process in the

Carroll Litigation.

       D.      NanoMech’s Struggles with Liquidity and Impacts on Supplier and
               Customer Relationships

       69.     NanoMech continued to struggle to maintain adequate liquidity in early 2019,

despite its receipt of funds from issuing additional Convertible Notes in late 2018. NanoMech

soon found itself substantially behind on its accounts payable, which, in turn, had a major impact

on relationships with suppliers and customers.

       70.     As noted above, Axel Royal is a key supplier for NanoMech’s nGlide products. In

early 2019, NanoMech was unable to remain current on its obligations to Axel Royal. Previously,

Axel Royal had extended credit of $300,000 to NanoMech, but NanoMech had already reached

this limit. In addition, NanoMech’s balance with Axel Royal was severely past due. As a result,

Axel Royal refused to continue providing supplies for nGlide unless NanoMech granted Axel

Royal a purchase money security interest in supplies that NanoMech purchased from Axel Royal

and NanoMech’s accounts receivable associated therewith.

       71.     Accordingly, on January 28, 2019, NanoMech and Axel Americas entered into the

Original Axel Security Agreement and Original Axel Credit Agreement, as described above.

Without Axel Royal’s willingness to extend credit to NanoMech at this critical time, NanoMech

would have been unable to continue selling nGlide products to its customers, which would have

jeopardized its entire business.

       72.     As described above, NanoMech also entered into the Third NPA Amendment with

Michaelson and Advantage on March 1, 2019.             The Third NPA Amendment increased

NanoMech’s secured debt but also provided it with additional liquidity of almost $1 million.

However, only approximately half of these funds remained available for NanoMech’s ongoing



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operations, because around this time, NanoMech also entered into a separation agreement with its

former Chairman and CEO, James Phillips. NanoMech ultimately used approximately half of the

funds received from Advantage to pay amounts owed to Phillips under his separation agreement

and to make payments on account of two promissory notes for compensation that NanoMech had

failed to pay Phillips over eight months prior.

       E.      NanoMech’s Retention of a CRO

       73.     Shortly after execution of the Third NPA Amendment, NanoMech’s Board of

Directors, in light of the increasingly severe liquidity shortfall faced by NanoMech and the pending

Michaelson MSJ, began exploring restructuring alternatives and sought to retain professional

restructuring help. On March 7, 2019, NanoMech’s Board of Directors authorized my retention

as CRO.

       74.     When my CRO engagement began, NanoMech was at risk of imminent shutdown

and liquidation. NanoMech was struggling to make payroll and was unable to remain current with

its key suppliers, such as Axel Royal. There were also serious questions as to whether NanoMech

would have ongoing support from Michaelson, its senior lender.. Based on the Forbearance

Agreement and Michaelson’s pending MSJ, there was a substantial risk that Michaelson would

obtain a judgment and seek to foreclose on its collateral.

       75.     Thus, one of my first steps in my role as CRO was to engage in discussions with

Michaelson concerning, among other things, a consensual, pre-planned chapter 11 filing, and

associated debtor-in-possession financing and use of cash collateral agreement. Constructive

discussions with Michaelson led to additional credit advances under the NPA. As described above,

since my engagement, Michaelson has advanced $450,000 in additional funds to NanoMech. In

addition, NanoMech has negotiated debtor-in-possession financing and the Debtor’s ability to use

cash collateral with Michaelson, as detailed below.


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       76.     Another early step during my tenure as CRO was to advise the Board of Directors

regarding necessary employee layoffs in order to reduce overhead and preserve cash. Accordingly,

NanoMech, regrettably, terminated certain employees, resulting in a reduction of monthly payroll

expenses by over one-third. Early on, I met with all of NanoMech’s employees, and explained the

challenges ahead, including the expected layoffs and the process of commencing a proceeding

under chapter 11 of the Bankruptcy Code. I have since led another “all-hands” meeting with the

employees, and the employees, including remaining scientists and senior executives, are, indeed,

committed to seeing the Debtor continue as a going concern and build value for its stakeholders.

       77.     In addition, to reduce overhead, I have managed the closing of unnecessary and

very costly offices in Dallas and Houston. The Dallas office space has been returned to the

landlord and the furniture has been liquidated. Upon NanoMech’s vacating the Dallas office, the

landlord signed a lease for a new tenant, resulting in a substantial mitigation of damages. The

Debtor anticipates rejecting its lease to the Houston Office, as it’s not necessary to business

operations. The closing of these offices will save the Debtor over $300,000/year, I have been

informed, without any negative impact on sales.

       78.     I now have a strong, complimentary working relationship with Senior Vice

President of Finance and Operations Wyatt Watkins (the company’s COO), and have been working

closely with the President of NanoMech Energy and the Director of Sales (two key employees). I

have met privately with the technical staff to better understand their views on operations and

staffing. The objective of all these efforts has been to build a consensus and enable me to better

advise the Board of Directors on restructuring alternatives and capital needs.

       79.     A major component of my work as CRO has been to help stabilize NanoMech’s

relationships with both its critical suppliers and its major customers. A highlight of these efforts




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has been the Fourth NPA Amendment. The amended agreements with Axel Royal have preserved

NanoMech’s ability to purchase goods from Axel Royal, significantly enhancing NanoMech’s

ability to continue operating its key nGlide business. In addition, because Michaelson alleged that

the Original Axel Security Agreement violated the NPA, I worked with Michaelson to obtain its

consent to the amended Axel Security Agreement as part of the Fourth NPA Amendment, and

fostered an agreement between Axel Royal and Michaelson. The Fourth NPA Amendment ensures

NanoMech’s continued relationship with its key supplier, with pre-negotiated post-petition trade-

credit terms that will substantially lower the Debtor’s debtor-in-possession financing needs.

       80.     Finally, I have been assisting the Senior Vice President of Finance and Operations

with financial modeling, based on my experience with modeling credit transactions, corporate

finance transactions, and structured finance transactions in my various professional and business

capacities.   These are just a few examples of my efforts and initiatives to help stabilize

NanoMech’s business over the past several weeks. I have devoted my efforts to NanoMech on a

full-time basis, seven-days-a-week, spending well more than business hours on this assignment.

My engagement is based on a fixed monthly retainer, as requested by the Board (as opposed to an

hourly fee arrangement). I am currently not active on any other professional engagement.

       F.      NanoMech’s Decision to File for Chapter 11 Relief

       81.     NanoMech needs to reorganize its capital structure under chapter 11; or, in the

alternative, sell its assets as a going concern under section 363(b) of the Bankruptcy Code, if it is

to preserve enterprise value for the benefit of stakeholders. Without DIP financing and the use of

cash collateral, NanoMech will not be able to operate as a going concern. Due to its valuable

intellectual property, product know-how, and blue-chip customers, NanoMech has significant

potential to operate profitably and grow substantially in the future (including, but not limited to,

developing additional industrial capacity and setting up manufacturing and sales operations in


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foreign jurisdictions), once the business is properly recapitalized for product development and

expansion. NanoMech’s production capacity is not fully utilized, primarily because of its recent

liquidity shortfall and arrearages with key suppliers. NanoMech’s recent progress with key

suppliers and customers is encouraging, and is an objective illustration of how, despite its financial

and past operational issues, NanoMech’s major customers continue to want to use the Debtor’s

products in manufacturing and in the field. In short, this shows NanoMech’s competitive attributes

and advantages; it’s a tech company that has not been able to exploit fully it’s valuable intellectual

property and product know-how. With appropriate levels of working capital and investment, I

now believe it can.

           82.      Michaelson has now agreed to provide debtor-in-possession financing to

NanoMech, as well as to allow the Debtor to use cash collateral without having to pay adequate

protection payments. The Debtor is now exploring its restructuring alternatives, including the sale

of substantially all of its assets under section 363(b) of the Bankruptcy Code. The Debtor intends

to seek authorization to engage identified investment bankers to manage a sale and/or plan

formulation process, targeted at potential financial and industry investors/buyers.

III.       FIRST-DAY PLEADINGS6

           A.       Motion for Entry of Interim and Final Orders Authorizing the Debtor to (I)
                    Maintain, Continue, and Renew its Property, Casualty, Liability and Other
                    Insurance Policies and Agreements, and (II) Honor all Obligations in Respect
                    thereof (the “Insurance Motion”)

           83.      The Debtor maintains various insurance programs providing coverage for, among

other things, business owner property and general liability, employment benefits liability, workers’

compensation liability, employment practices liability, commercial property liability, crime, cyber



6
       Capitalized terms not otherwise defined in Part III of this Declaration shall have the meanings assigned in the
       relevant First-Day Pleadings.


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security, business auto, errors & omissions, directors and officers liability, fiduciary liability, and

commercial umbrella (collectively, the “Insurance Programs”). The Insurance Programs include

coverage primarily from the insurance policies listed on Exhibit A hereto (the “Insurance

Policies”), which the Debtor has obtained through third-party insurance carriers (the “Insurance

Carriers”).

        84.     The Debtor seeks entry of an order authorizing, but not directing, the Debtor to (a)

continue and, to the extent necessary, revise, extend, renew, supplement, or change its prepetition

Insurance Policies, or enter into new policies, if necessary, in the ordinary course of business and

(b) pay all prepetition obligations in respect thereof, including brokerage and administrative fees

(collectively, the “Insurance Obligations”) in the ordinary course of business and pay prepetition

obligations in respect thereof.

        85.     In connection with its business operations, the Debtor maintains multiple Insurance

Policies that vary in amounts and types of coverage in accordance with prudent business practices,

state and local laws governing the jurisdictions in which the Debtor operates and various

contractual obligations. The Insurance Policies include (a) general liability, (b) business auto

liability, (c) umbrella liability, (d) crime, (e) property, (f) cyber, (g) directors and officers liability,

(h) employment practices liability, (i) fiduciary liability, and (j) workers’ compensation and

employers’ liability.

        B.      Motion to (I) Approve Maintenance of Certain Prepetition Bank Accounts
                and Cash Management System and (II) Continue Use of Existing Checks and
                Business Forms (“Cash Management Motion”)

        86.     Cash Management System. Prior to the Petition Date, the Debtor managed its cash,

receivables, and payables through the Cash Management System, which is designed to efficiently

collect, transfer, and disburse funds. The principal components of the Cash Management System




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are (i) the Debtor’s bank account with Today’s Bank,7 and (ii) controls and processes associated

with the Debtor’s cash management procedures. The Debtor maintains accounting controls in

connection with its Cash Management System and is able to accurately trace the funds flowing

through the Cash Management System to ensure that all transactions are adequately documented

and readily ascertainable. As a result, the Debtor is able to accurately document and record the

transactions occurring within the Cash Management System for the benefit of all parties in interest.

        87.     Procedures.    The Debtor also follows the Procedures in connection with its

disbursements. I receive daily working capital reports that reflect the cash balances of the Debtor’s

bank accounts, receipts of collections of accounts receivable, and planned disbursements. Such

reports are provided at 9:00 a.m. (Central Standard Time) each business day and approved

distributions are made at 3 p.m. (Central Standard Time) each business day. For disbursements by

check or wire, the Debtor’s accounts payable clerk verifies and posts the relevant invoice, and the

Debtor’s Senior Vice President of Finance and Operations determines whether the Debtor has

sufficient liquidity to make the proposed disbursement. Disbursements are then provided to me

for approval. Similarly, I am notified daily of any payments made via Automated Clearing House.

The Debtor also pays Bank Fees to Today’s Bank in the ordinary course of business. The Bank

Fees include fees and expenses related to wire transfers and other fees, costs, and expenses that

are standard for a typical corporate bank account, which Today’s Bank debits directly from the

Debtor’s bank account or which the Debtor pays in connection with wire transfers.

        88.     UST Operating Guidelines. I understand the United States Trustee (“UST”) has

established certain operating guidelines for debtors-in-possession to supervise the administration

of chapter 11 cases. Under the circumstances, a waiver of certain of the UST’s requirements is


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    The Debtor also has an account with First Security Bank. This account is not actively used in the Cash
    Management System.


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warranted in this case. These include guidelines that would, inter alia, require the Debtor to

(i) close its existing bank accounts, (ii) open new bank accounts, (iii) make disbursements only by

check with the designation “Debtor-in-Possession,” (iv) modify its bank account signature cards,

and (v) change existing check stock and business forms. Because these requirements would force

the Debtor to make a number of changes to its Cash Management System, the implementation of

these requirements would cause significant and unnecessary disruption in the Debtor’s business,

thereby impairing its efforts to operate efficiently and pursue opportunities to maximize the value

of its estate.

        89.      For the foregoing reasons, it is in the best interests of the Debtor, its estate, its

creditors, and all other parties in interest that the Court grant the relief requested in the Cash

Management Motion.

        C.       Motion for Entry of Interim and Final Orders (I) Authorizing the Debtor to
                 (A) Obtain Priming and Superpriority Post-petition Financing Pursuant to
                 11 U.S.C. §§ 105, 361, 362, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), and
                 364(e); and (B) Use Cash Collateral Pursuant to 11 U.S.C. § 363;
                 (II) Granting Adequate Protection Pursuant to 11 U.S.C. §§ 361, 362, 363,
                 and 364; (III) Scheduling a Final Hearing Pursuant to Bankruptcy Rules
                 4001(B) and (C); and (IV) Granting Related Relief (“DIP Motion”).

        90.      The Debtor needs immediate access to financing. Access to substantial credit is

necessary to meet the day-to-day costs associated with operating the Debtor’s business and

preserving value. Access to sufficient cash is therefore critical to the Debtor. A loss of confidence

among suppliers, customers, employees and other interested parties in the Debtor’s ability to

access credit at this crucial time would have a material adverse impact on the Debtor’s operations

and its overall value.

        91.      The Debtor engaged in good faith, arm’s-length negotiations with Michaelson

Capital Special Finance Fund II, L.P. (the “DIP Lender”), leading to the terms and conditions

contained in a DIP Credit Agreement (the “DIP Credit Agreement”).


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       92.     The DIP Financing (the “DIP Financing”) reflects the exercise of the Debtor’s

sound and prudent business judgment. As detailed throughout, the Debtor was not able to obtain

alternative financing on an unsecured basis, nor was it able to obtain any financing on terms as

favorable as the terms negotiated with the DIP Lender. Thus, while there is no pre-petition secured

debt, this financing is important to the company and the terms are reasonable in light of the

necessity of the additional funding. In the Debtor’s business judgment, the DIP Financing is the

best option available for the Debtor to obtain much-needed liquidity in the circumstances of this

chapter 11 case.

       93.     The terms and conditions of the DIP Credit Agreement are fair and reasonable and

were negotiated by the parties in good faith and at arm’s-length. The interest rate under the DIP

Credit Agreement is within the range of market rates and fair and reasonable in light of the credit

profile of the Debtor, the nature and extent of the DIP Collateral (as defined in the DIP Credit

Agreement), and the business risks associated with lending to the Debtor in these chapter 11 cases.

Because the DIP Credit Agreement has been negotiated in good faith and at arm’s-length and no

consideration is being provided to any party for obligations arising under the DIP Credit

Agreement, other than as disclosed therein, the Debtor requests that the DIP Credit Agreement be

accorded the benefits of section 364(e) of the Bankruptcy Code.

       94.     The Debtor has exercised sound business judgment in determining that the DIP

Financing is not only appropriate, it is necessary. Furthermore, the Debtor has satisfied the legal

prerequisites to borrow under the DIP Credit Agreement. The terms of the DIP Credit Agreement

are fair and reasonable and are in the best interests of the Debtor’s estate.

       95.     Without the liquidity provided by the DIP Credit Agreement, the Debtor may be

unable to pay suppliers, employees, and other constituencies that are essential to the operation of




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the business in the ordinary course. The Debtor’s management has exercised its best business

judgment in negotiating the DIP Credit Agreement that is presently before the Court.

        96.      For the foregoing reasons, it is in the best interests of the Debtor, its estate, its

creditors, and all other parties in interest that the Court grant the relief requested in the DIP Motion.

        D.       Motion for Order (I) Authorizing Payment of Prepetition Obligations to
                 Critical Vendors Associated with the Debtor’s Ongoing Operations, (II)
                 Approving Settlement with Axel Royal, LLC and Axel Americas, LLC, and
                 (III) Granting Related Relief (the “Critical Vendors Motion”)

        97.      The Debtor plans to continue operating its business post-petition. As noted above,

the Debtor’s nGlide product line generates a significant percentage of its total sales revenue. All

but one of the Critical Vendors supply raw materials that are necessary for the Debtor to be able

to continue selling nGlide products to its customers.8 For example, Axel Royal serves as the

Debtor’s primary supplier for the nGlide product line, as described above. If the Debtor is unable

to continue placing orders with Axel Royal, the Debtor will be unable to continue supplying nGlide

products to its customers in order to generate sales income. Similarly, if the Debtor is unable to

continue placing orders with the other Critical Vendors, the Debtor will be unable to continue

supplying products to its customers in order to generate sales income. The Debtor cannot easily

obtain substitutes for any of the raw materials supplied by the Critical Vendors because even minor

changes can materially and adversely affect the performance of the Debtor’s products. In addition,

changing some of the raw materials supplied by the Critical Vendors could require the Debtor to

seek new approval from its customers who are interested in the raw materials that nGlide

comprises, a burdensome process and one that could result in the Debtor’s loss of business from

those customers.



8
    The remaining Critical Vendor supplies raw materials that are necessary for the Debtor’s TuffTek products, which
    is its second most profitable product line.


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       98.     Outstanding Prepetition Obligations. Before the Petition Date, the Debtor ordered

various goods and services from its Critical Vendors in the ordinary course of its business

operations. These goods and services were necessary for the Debtor to sell products to its

customers and generate profits. The Debtor’s orders resulted in various obligations owed by the

Debtor to the Critical Vendors, including the Outstanding Prepetition Obligations. As set forth in

Exhibit A to the Critical Vendors Motion, the Outstanding Prepetition Obligations total

approximately $200,869.20. Payment of the Outstanding Prepetition Obligations would benefit

the Debtor’s estate, creditors, and other parties in interest by permitting the Debtor to continue

placing orders with its Critical Vendors in the ordinary course of operating its business.

       99.     Post-Petition Obligations. As described above, the Critical Vendors provide goods

and services that are vital to the Debtor’s ability to continue selling products to its customers and

generating revenue to fund its operations. Thus, the Debtor will need to place additional orders

with the Critical Vendors, which will result in Post-Petition Obligations. These Post-Petition

Obligations be based on post-petition orders and are thus inherently necessary to provide benefits

to the estate by allowing the Debtor to continue to generate sales revenue.

       100.    Approval of Post-Petition Axel Agreement. As described in further detail above,

the Debtor entered into the Prepetition Axel Agreements before the Petition Date in order to

preserve its ability to obtain critical raw materials and continue selling nGlide products to its

customers. Loss of Axel Royal as a supplier would have rendered the Debtor completely unable

to continue selling nGlide products to its customers and would have likely forced the Debtor to

shut down its operations immediately, drastically reducing its overall value as a going concern.

To ensure that the Debtor will be able to continue operating its business post-petition, the Debtor

has negotiated the Post-Petition Axel Agreement with Axel Royal, as further described in the




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Critical Vendors Motion and attached as Exhibit B thereto. Because the Post-Petition Axel

Agreement will permit the Debtor to continue placing orders with Axel Royal, the Post-Petition

Axel Agreement will allow the Debtor to continue selling nGlide products to generate profits.

Conversely, without the ability to enter into the Post-Petition Axel Agreement, the Debtor’s ability

to continue operating its business could be jeopardized, as the Debtor will quickly become unable

to fulfill its customers’ orders and will have to shut down its operations. Thus, immediate entry

into the Post-Petition Axel Agreement will maximize the value of the Debtor’s estate and is

therefore in the best interest of creditors and other parties in interest.

        101.    For the foregoing reasons, it is in the best interests of the Debtor, its estate, its

creditors, and all other parties in interest that the Court grant the relief requested in the Critical

Vendors Motion.

        E.      Motion for Entry of an Order Authorizing the Debtor to (I) Pay Prepetition
                Wages and Other Compensation, and (II) Continue Employee Benefit
                Programs (“Wages Motion”)

        102.    The Debtor employs approximately twenty-four (24) Employees in Houston and

Dallas, Texas and Springdale, Arkansas. None of the Employees are represented by a union or

collective bargaining unit.

        103.    Wages. The Debtor pays Wages to its Employees. ADP administers the Wages

and makes disbursements to Employees on Tuesday of each week. On average, the Debtor pays

approximately $74,741.52 in Wages every two-week pay period.

        104.    Expense Reimbursements.          The Debtor has historically provided Expense

Reimbursements related to, among other things, travel, lodging, ground transportation, meals, and

other reasonable and documented business related expenses.              On average, the Debtor has

historically paid approximately $6,000 per month on account of Expense Reimbursements. As of

the Petition Date, the Debtor estimates that aggregate Expense Reimbursements of approximately


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$2,000 remain outstanding, substantially all of which the Employees incurred through the use of

personal funds.

       105.    Health and Life Benefits. The Employees are offered Health and Life Benefits,

which are funded in whole or in part by the Debtor, and the remainder of which are funded by

Employee contributions. The Health and Life Benefits are an integral part of the Employees’

compensation. The Health and Life Benefits include: (i) medical care (provided by Blue Cross

Blue Shield of Arkansas), dental care (provided by Delta Dental), vision care (provided by Delta

Dental), and coverage under COBRA; (ii) employer-paid life insurance (provided by Reliance

Standard Life); and (iii) disability insurance (provided by Reliance Standard Life).

       106.    401(k) Plan. The Debtor also provides the Employees an opportunity to participate

in the 401(k) Plan, which is administered by ADP. Approximately twenty-four (24) Employees

currently contribute to the 401(k) Plan. Through contributions withheld from regular payroll,

eligible Employees may establish an account as of the first payroll following the date of hire, at

which time they may elect to contribute a percentage of their eligible compensation to the 401(k)

Plan on a pre-tax basis. Each Employee’s 401(k) Deductions are performed automatically from

each paycheck and transferred to a trust established under the 401(k) Plan. The Debtor makes

Matching Contributions of up to four percent of each Employee participant’s eligible

compensation as well. The Matching Contributions, which have historically totaled approximately

$61,000 per year, are transferred to the 401(k) Plan each pay period. As of the Petition Date, the

Debtor is holding 401(k) Contributions and 401(k) Deductions on behalf of eligible Employees.

       107.    The Employees perform a wide variety of functions critical to the Debtor’s

operations. Their skills, knowledge, and understanding of the Debtor’s operations are essential to

preserving operational stability and efficiency. In many instances, the Employees include highly




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trained personnel who could not easily be replaced. Without the continued, uninterrupted services

of its Employees, the Debtor’s restructuring efforts will be hampered. In addition, most Employees

rely exclusively on their compensation and benefits to pay their daily living expenses and support

their families. Thus, the Employees will suffer significant financial hardship if the Debtor is not

permitted to continue paying employee compensation, provide benefits, and maintain existing

programs. Indeed, payment of the Employee Compensation and Benefits is the only way to

maintain going-concern value, significantly enhancing the Debtor’s value for the potential benefit

of all parties.

        108.      For the foregoing reasons, I believe it is in the best interests of the Debtor, its estate,

its creditors, and all other parties in interest that the Court grant the relief requested in the Wages

Motion.

        F.        Motion for an Order (I) Authorizing, but not Directing, Payment of
                  Prepetition Sales, Use, Property and Similar Taxes and Fees and (II)
                  Authorizing Banks and Other Financial Institutions to Receive, Process,
                  Honor, and Pay Checks Issued and Electronic Payment Requests Made
                  Relating to the Foregoing (“Tax Motion”)

        109.      In the ordinary course of business, the Debtor incurs or collects and remits certain

taxes including sales, use, and various other taxes, fees, charges, and assessments (the “Taxes and

Fees”). The Debtor remits such Taxes and Fees to various federal, state, and local taxing and other

governmental authorities and/or certain municipal or governmental subdivisions or agencies of

those states (the “Taxing Authorities”) in connection with the operation of its business and the sale

of products. The Taxing Authorities are set forth on Exhibit B to the Tax Motion. The Taxes and

Fees are paid monthly, quarterly, semi-annually, or annually to the respective Taxing Authorities,

depending on the given Tax or Fee and the relevant Taxing Authority to which it is paid. As of

the Petition Date, the Debtor believes that none of the Taxes and Fees is past due or delinquent




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and, after entry of the Proposed Orders, intend to pay such amounts as they come due in the

ordinary course of business.

        110.    For the foregoing reasons, it is in the best interests of the Debtor, its estates, its

creditors, and all other parties in interest that the Court grant the relief requested in the Tax Motion.

        G.      Motion for an Order Providing Adequate Assurance of Utility Payments
                (“Utility Motion”)

        111.    Numerous Utilities provide the Debtor with traditional utility services, such as

telephone and communications, information technology, electricity, and other similar services that

are necessary for the continued operation of the Debtor’s day-to-day affairs. Uninterrupted utility

service is critical to the Debtor’s ability to operate its business and maximize value for the benefit

of its creditors. Loss of utility service would substantially disrupt the Debtor’s operations and

result in revenue loss, which could irreparably harm the value of the Debtor’s estate.

        112.    The proposed Adequate Assurance Deposits listed on Exhibit A to the Utility

Motion, which are calculated based on one-half of the approximation of one month’s worth of

utility service as calculated by the Debtor according to the last historical 12-month period, are

sufficient adequate assurance of the Debtor’s future payments to the Utility providers. As set forth

in Exhibit A to the Utility Motion, the proposed Adequate Assurance Deposits total $8,401.44.

        113.    For the foregoing reasons, it is in the best interests of the Debtor, its estates, its

creditors, and all other parties in interest that the Court grant the relief requested in the Utility

Motion.

IV.     CONCLUSION

        114.    The Debtor’s immediate objective is to continue to operate its business with as little

interruption or disruption as possible to minimize any loss of value during the pendency of the




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above-captioned case. If the Court grants the relief requested in the First-Day Pleadings, the

prospect for achieving this objective will be substantially enhanced.

                          [Remainder of page intentionally left blank.]




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.


Dated: April 8, 2019
       Houston, Texas                        Benjamin Waisbren
                                             Chief Restructuring Officer




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                                                     Exhibit 1

                                       Outstanding Convertible Notes
                                       Outstanding Convertible Notes

          Holder                  Amount             Issuance Date          Maturity Date        Subordination
                                                                                                  Agreement
    Phillip McCluskey         $50,000.00           June 6, 2017            June 6, 2018              Yes
    Kamlakar P.               $100,000.00          November 2,             November 2,               Yes
    Rajurkar                                       2017                    2018
    Rick and Ellen            $100,000.00          November 7,             November 7,                  No
    Barrows Revocable                              2017                    2018
    Trust
    Cornelia C.               $100,000.00          December 4,             December 4,                  Yes
    Jennings1                                      2017                    2018
    Brewster P.               $100,000.00          December 13,            December 13,                 Yes
    Jennings                                       2017                    2018
    Benjamin W. Wurts         $50,000.00           December 15,            December 15,                 Yes
                                                   2017                    2018
    Charles A. Brisbane       $100,000.00          January 3, 2018         January 3, 2019              Yes
    Daniel Carroll            $1,000,000.00        June 28, 2018           June 28, 2019                Yes
    Waring and                $1,000,000.00        August 30, 2018         August 30,                   No
    Cameron Partridge                                                      2019
    Foundation
    Waring and                $1,000,000.00        September 24,           September 24,                No
    Cameron Partridge                              2018                    2019
    Foundation
    John D. Bertuzzi          $500,000.00          November 9,             November 9,                  No
    Revocable Trust                                2018                    2019
    John Acker                $50,000.00           January 30, 2019        January 30,                  No
                                                                           2020




1
      Ms. Jennings is also the holder of that certain unsecured Promissory Note dated March 6, 2018 with a principal
      amount of $50,000.00 and an interest rate of 8% per annum, which is payable on demand after August 1, 2018 or
      when such amounts are declared due and payable by the holder thereof.
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                       Exhibit 2

          Significant Holders of Common Stock
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                          Significant Holders of Common Stock

            Name of Owner                  Number of Shares       Approximate Percent
                                                                      Ownership
Ajay P. Malshe (individually)           1,275,000               20.9%
Calvin Goforth                          812,500                 13.3%
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                        Exhibit 3

          Significant Holders of Preferred Stock
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                           Significant Holders of Preferred Stock

    Name of Owner               Series          Number of          Approximate Percent
                                                  Shares               Ownership
PI Asset Holdings, LLC      Preferred A      552,187            39.1%
FAF Investments             Preferred A      404,616            28.7%
Meadow Lane                 Preferred B      863,480            23.6%
Investments
Advantage Capital           Preferred B      1,000,000          27.3%
Hendricks                   Preferred B      937,500            25.6%
Spring Creek Investments    Preferred B      375,000            10.2%
LLC
SAEV GUERNSEY               Preferred C      3,018,048          93.0%
Holdings Limited
